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                                   Laura Davis Jones               July 31, 2020              ljones@pszjlaw.com
                                                                                                    302.778.6401




W I L M I N G T O N, D E
L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
                                  VIA HAND DELIVERY
N E W Y O R K, N Y                John A. Cerino
C O S T A M E S A, C A
                                  Clerk
919 NORTH MARKET STREET           United States District Court
17th FLOOR
P.O. BOX 8705
                                  District of Delaware
WILMINGTON                        844 N. King Street
DELAWARE 19899-8705               Wilmington, DE 19801
TELEPHONE: 302/652 4100
FACSIMILE: 302/652 4400                       Re:      Northrop Grumman Ship Systems, Inc. v. The
                                                       Ministry of Defense of the Republic of Venezuela;
LOS ANGELES                                            Registration of Judgment from Another District
10100 SANTA MONICA BLVD.
13th FLOOR                        Dear Mr. Cerino:
LOS ANGELES
CALIFORNIA 90067
                                          We write on behalf of Plaintiff Northrop Grumman Ship
TELEPHONE: 310/277 6910
                                  Systems, Inc., f/k/a Ingalls Shipbuilding, Inc., and now known as
FACSIMILE: 310/201 0760
                                  Huntington Ingalls Incorporated’s (“Huntington Ingalls” or
                                  “Plaintiff”). Enclosed please find the following documents issued
SAN FRANCISCO
150 CALIFORNIA STREET
                                  by the Clerk of the United States District Court for the Southern
15th FLOOR                        District of Mississippi: (i) original Clerk’s Certification of a
SAN FRANCISCO                     Judgment to be Registered in Another District; and (ii) certified
CALIFORNIA 94111-4500
                                  copy of Judgment, in the above-referenced action.
TELEPHONE: 415/263 7000

FACSIMILE: 415/263 7010
                                          By order dated July 23, 2020 the United States District Court
                                  for the Southern District of Mississippi authorized Huntington
NEW YORK
                                  Ingalls to register for good cause the attached Judgment in the
780 THIRD AVENUE
34th FLOOR
                                  District of Delaware pursuant to 28 U.S.C. § 1963. We accordingly
NEW YORK                          request that you kindly register this judgment in the District of
NEW YORK 10017-2024               Delaware. Thank you in advance for your attention to this matter.
TELEPHONE: 212/561 7700

FACSIMILE: 212/561 7777                   To the extent this matter requires a judicial assignment, we
                                  request the matter be assigned to Chief Judge Stark because it is
COSTA MESA                        related to pending actions before Chief Judge Stark against the
650 TOWNE CENTER DRIVE            Bolivarian Republic of Venezuela and related defendants.
SUITE 1500
COSTA MESA
CALIFORNIA 92626

TELEPHONE: 714/384 4750

FACSIMILE: 714/384 4751



                                  DOCS_DE:230015.2 68700/001
WEB:   www.pszjlaw.com
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                            Please let me know if you need any further information.

                                                 Very truly yours,

                                                 PACHULSKI STANG ZIEHL
                                                 & JONES LLP

                                                 /s/ Laura Davis Jones

                                                 Laura Davis Jones (DE Bar No. 2436)
                                                 Email: ljones@pszjlaw.com




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